           Case 1:20-cr-00557-AT Document 13 Filed 11/09/20 Page 1 of 1


                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                           DOC #: ____________________
                                                                    DATE FILED: __11/9/2020

               -against-
                                                                               20 Cr. 557 (AT)
ALVIN FORDE,
                                                                            AMENDED ORDER
                               Defendant.
ANALISA TORRES, District Judge:

       The Court’s November 6 Order is AMENDED as follows: The Court will hold an initial
conference in this action on November 9, 2020, at 12:00 p.m., using the Court’s
teleconferencing system. See In re Coronavirus/Covid-19 Pandemic, 20 Misc. 176, ECF No. 3
(S.D.N.Y. Sept. 16, 2020) (“[C]onditions, which are unlikely to be alleviated in the near future,
make it impossible for the judges in this District to conduct all criminal proceedings in person in
the courthouses.”). The parties, co-counsel, members of the press, and the public may access the
audio feed of the conference by calling (888) 398-2342 or (215) 861-0674, at the time of the
hearing, and entering access code 5598827.

       SO ORDERED.

Dated: November 9, 2020
       New York, New York
